                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

DISABILIY RIGHTS TENNESSEE,                         )
                                                    )
      Plaintiff,                                    )
                                                    )
v.                                                  )       NO. 1:23-cv-00086
                                                    )
MIDDLE TENNESSEE DETENTION                          )       JUDGE CAMPBELL
CENTER, LLC, et al.,                                )       MAGISTRATE JUDGE HOLMES
                                                    )
       Defendants.
                                          MEMORANDUM

          Pending before the Court is Defendants Middle Tennessee Detention Center, LLC

 (“MTJDC”), Jason Crews, Hollis Residential Treatment Center, and Wayne Halfway House, Inc.’s

 (“Defendants”) second motion to dismiss (Doc. No. 55), which is fully briefed and ripe for review.

 (See Doc. Nos. 60, 64). For the reasons explained below, Defendants’ motion will be GRANTED

 in part and DENIED in part.

                                  I.      FACTUAL BACKGROUND

          Plaintiff Disability Rights Tennessee (“DRT”) is a non-profit organization designated by

 the State of Tennessee as “the organization with responsibility to advocate for and protect the rights

 of individuals with disabilities and to investigate abuse and neglect of individuals with disabilities”

 under the Protection and Advocacy for Individuals with Mental Illness Act (“PAIMI Act”), 42

 U.S.C. §§ 10801-10827, the Developmental Disabilities Assistance and Bill of Rights Act (“DD

 Act”), 42 U.S.C. §§ 15041-15045, and the Protection and Advocacy of Individual Rights under

 the Vocational Rehabilitation Act (“PAIR”), 29 U.S.C.A. § 794e, (collectively referred to as “the

 P&A Acts”), which “includes the authority to access the records of such individuals in certain

 circumstances.” (Doc. No. 45 ¶¶ 2, 14).




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       Defendant MTJDC is a youth detention facility located in Maury County and operated by

Middle Tennessee Detention Center, LLC. (Id. ¶ 15). Defendant Wayne Halfway House Inc.

operates MTJDC and Defendant Hollis Residential Treatment Center, a residential child-care

agency located within Maury County. (Id. ¶¶ 17-18). Defendant Jason Crews is the Executive

Director of Wayne Halfway House Inc. and MTJDC. (Id. ¶ 16).

       Plaintiff monitors and investigates detention and residential treatment facilities for youths

with disabilities. (Id. ¶ 26). During monitoring visits, Plaintiff observes physical conditions,

gathers information from staff, and speaks privately with residents so they have an opportunity to

confidentially discuss concerns about their experiences at the facility. (Id.). In addition to

monitoring visits, Plaintiff relies on complaints from the public, family members, and individuals

to open investigations and access records. (Id. ¶ 29).

       Through information disclosed during a facility monitoring visit, Plaintiff may determine

that there is probable cause that abuse or neglect has occurred and open an investigation. (Id. ¶

31). Once an investigation into alleged abuse or neglect against a youth has been opened, Plaintiff

has the right to access the records of the youth. (Id. ¶ 33). Consent from the youth’s parent or

guardian is required for Plaintiff to request records for an individual. (Id. ¶ 34).

       Beginning in the spring of 2023, Plaintiff alleges that it received complaints regarding

various youths housed at MTJDC and Hollis Residential Treatment Center, conducted monitoring

visits of the facilities, and determined that probable cause of abuse or neglect existed. As a result,

Plaintiff opened investigations into these youths and requested their records from the facilities.

The records requested by Plaintiff that are at issue include parental contact information, video

footage of pepper spray incidents, incident reports, education records, behavior reduction sheets,

medical records, and surveillance video footage. (Id. ¶¶ 52, 64, 72, 82, 96, 108, 113). For each



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youth individual named in the Second Amended Complaint, Plaintiff alleges that (1) the facilities

failed to provide any of the requested records (Id. ¶¶ 43-45, 47, 49-52, 125, 127, 137, 162); or (2)

that the records provided were incomplete (Id. ¶¶ 53-60, 65, 67, 72, 73, 75, 77-78, 79-82, 83-84,

87-88, 89-96, 97-100, 102-108, 109, 110, 112, 113, 114-124).

       Plaintiff brings claims against Defendants for violation of the P&A Acts under the P&A

Acts themselves and under 42 U.S.C. § 1983. (Id. ¶ 163-167). Plaintiff also requests injunctive and

declaratory relief. (Id. ¶¶ 168-172). Specifically, Plaintiff requests a declaratory judgment that

“Defendants’ policies, procedures, regulations, and practices continue to deny DRT full, complete,

meaningful, and timely access to requested records of these youths violated and continues to

violate the P&A Acts” and preliminary and permanent injunctions “enjoining Defendants from

continuing to deny full, complete, meaningful, and timely access by Plaintiff DRT to these

records.” (Id. ¶¶ 170-171).

                                  II.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 12(b)(6) permits dismissal of a complaint for failure to

state a claim upon which relief can be granted. For purposes of a motion to dismiss, a court must

accept as true all of the factual allegations in the complaint. Ashcroft v. Iqbal, 556 U.S. 662 (2009).

To survive a motion to dismiss, a complaint must contain sufficient factual allegations to state a

claim for relief that is plausible on its face. Id. at 678. A claim has facial plausibility when the

plaintiff pleads facts that allow the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged. Id. In reviewing a motion to dismiss, the Court construes the

complaint in the light most favorable to the plaintiff, accepts its allegations as true, and draws all

reasonable inferences in favor of the plaintiff. Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.

2007). Thus, dismissal is appropriate only if “it appears beyond doubt that the plaintiff can prove



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no set of facts in support of his claim which would entitle him to relief.” Guzman v. U.S. Dep't of

Children’s Servs., 679 F.3d 425, 429 (6th Cir. 2012).

       Further “a motion to dismiss under Rule 12(b)(6) is generally not the appropriate vehicle

to dismiss a claim based on an affirmative defense” because “as with all affirmative defenses, it is

the burden of the defendant to prove the elements of the defense.” Mixon v. Trott L., P.C., No. 19-

1366, 2019 WL 4943761, at *2 (6th Cir. 2019). A plaintiff typically does not have to anticipate or

negate an affirmative defense to survive a motion to dismiss. Cataldo v. U.S. Steel Corp., 676 F.3d

542, 547 (6th Cir. 2012). However, an affirmative defense can be the basis for dismissal under

Rule 12(b)(6) if “the plaintiff's own allegations show that a defense exists that legally defeats the

claim for relief.” Est. of Barney v. PNC Bank, Nat. Ass'n, 714 F.3d 920, 926 (6th Cir. 2013) (citation

omitted).

                                          III.    ANALYSIS

A. Spending Clause

       Defendants provide a lengthy and well-articulated argument that the P&A Acts that serve

as the basis for Plaintiff’s claims were enacted under the Spending Clause of the United States

Constitution (Art. I, § 8, cl. 1) and because Defendants do not accept federal funding, they are not

subject to the P&A Acts. Plaintiff provides an equally detailed and well-structured argument to

defeat that basis for dismissal.

       While interesting and perhaps dispositive at some future juncture, this argument does not

get out of the starting block under a Rule 12(b)(6) analysis, which is limited to the allegations in

the Second Amended Complaint and draws all reasonable inferences in Plaintiff’s favor.

       Specifically, Defendants state (without support) that they “are not recipients of federal

funds” and appear to base this argument on what is not in the Second Amended Complaint – an



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allegation that Defendants receive federal funds. Defendants provide the Court with no authority

that a plaintiff should anticipate an argument that a defendant may raise and plead facts to address

that argument to avoid dismissal. Defendants are arguing from the absence of such an allegation,

not what is in the Second Amended Complaint, which alleges that Defendants are subject to the

P&A Acts. Accepting these allegations as true, which the Court must at this juncture, Defendants’

Spending Clause argument does not support dismissal.

B. The Materials Are Not “Records”

       Defendants next argue that certain materials requested by Plaintiff are not “records” under

the three federal statutes. The PAIMI Act defines “records” to include “reports prepared by any

staff of a facility rendering care and treatment or reports prepared by an agency charged with

investigating reports of incidents of abuse, neglect, and injury occurring at such facility that

describe incidents of abuse, neglect, and injury occurring at such facility and the steps taken to

investigate such incidents, and discharge planning records.” 42 U.S.C. § 10806(b)(3)(A). The DD

Act defines records to include “(1) a report prepared or received by any staff at any location at

which services, supports, or other assistance is provided to individuals with developmental

disabilities; (2) a report prepared by an agency or staff person charged with investigating reports

of incidents of abuse or neglect, injury, or death occurring at such location, that describes such

incidents and the steps taken to investigate such incidents; and (3) a discharge planning record.”

42 U.S.C. § 15043(c).

       Courts have construed the scope of “records” broadly. In Disability Rts. Texas v. Bishop,

the Northern District of Texas recognized that limiting the scope of “records” such that “a P&A

organization would be able to access records documenting abuse of its client only when the abuse

occurred incident to the care, treatment, or investigation into the abuse of the client” would



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“categorically exclude from a P&A organization's investigatory powers records related to the abuse

of P&A clients in contexts other than care, treatment, or investigation.” 615 F. Supp. 3d 454, 465–

66 (N.D. Tex. 2022). The Court also recognized that “Congress sought to empower P&A

organizations to ‘investigate incidents of abuse and neglect of individuals with mental illness’

generally and not only those incidents that are in a therapeutic or investigatory context” and that

“given that abuse or neglect of individuals with mental illness can occur in many different settings,

it is incredible that Congress would categorically exclude a broad range of non-therapeutic and

non-investigatory conduct that constitutes abuse or neglect from a P&A organization's records-

access authority.” Id. This result is consistent with Disability Rts. Texas v. Hollis, 103 F.4th 1058,

1063–64 (5th Cir. 2024), in which the Fifth Circuit addressed Bishop and held that:

       “[T]he ordinary public meaning of ‘records,’ as well as statutory structure and
       context, confirm that the term includes videos of a P&A client's alleged abuse or
       neglect.” Id. at 461. The Bishop court also made note of “existing statutory
       protections [which] adequately protect the privacy rights of other detainees [or
       patients].” Id. There, it noted that:
               [T]he phrase, “of ... any individual,” need not be read so narrowly—
               as Bishop suggests—to imply that a record must be exclusively
               produced for or regarding a particular individual. The “preposition
               ‘of’ may be used to show connection or association, as well as
               ownership ... and it seems clear that the term is used in the former
               sense here.” Pa. Prot. & Advoc., Inc. v. Houstoun, 228 F.3d 423, 427
               (3d Cir. 2000) (Alito, J.) (citing Random House Dictionary of the
               English Language 999 (1967)) (construing “records” in Section
               10805(a)(4) to include peer-review reports belonging to a hospital
               rather than an individual patient). Id. at 465.
       In this case, the district court also maintained that, notwithstanding other
       individuals' privacy rights which may be implicated, the purpose of the P&A Acts
       necessitates DRTx's access to video record evidence. Allowing Houston Behavioral
       to block DRTx from reviewing video records would significantly hinder the P&A
       organization from fulfilling its federal mandate. The district court noted that the
       stated statutory purpose of P&A organizations' investigative powers is to
       “investigate incidents of abuse and neglect of individuals with mental illness” and
       “to ensure the rights of individuals with mental illness are protected.” 42 U.S.C. §
       10801(b). We agree and hold that the statutory plain language and purpose grants


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        DRTx access to “all records of ... any individual,” including the video footage
        requested here. Id.
Disability Rts. Texas v. Hollis, 103 F.4th 1058, 1063–64 (5th Cir. 2024).

        Similarly, the Southern District of Ohio granted a P&A system’s motion for preliminary

injunction and ordered a facility to provide records including “the requests for grievances and

complaints made by the youth, restraint logs and denial of privileges logs of the youth, information

regarding the staff involved in the incidents, and video recordings of the hour before and after the

reported incidents.” Disability Rts. Ohio v. Buckeye Ranch, Inc., 375 F. Supp. 3d 873, 886 (S.D.

Ohio 2019).

        Defendants’ “records” argument asks the Court to assume that video footage, incident

reports, behavior reduction sheets, “point sheets” and “R+I records” are not “investigative

records.” While a record developed through discovery may ultimately support that argument, the

Court cannot reach such a conclusion at this stage, so Defendants’ request for dismissal on this

basis fails.

C. Claims Related to Identified Youth

        Defendants next argue that Plaintiff failed to plead that the youth at issue have a

“developmental disability” or “mental illness.”

        Reviewing the allegations in the Second Amended Complaint – many of which are included

in a chart provided by Defendants (Doc. No. 56 at 22-24), all the youth are alleged to have a

condition covered by the PAIMI and DD Acts except “M.W.” and “M.C.”

        Plaintiff’s response does not point to any allegations concerning whether M.W. or M.C. are

“individuals” covered by the acts at issue. Indeed, Plaintiff’s own argument that the “records” must

be “of an individual with” a developmental disability or mental illness supports Defendants’

argument, so any claims relating to M.W. and M.C. will be dismissed.


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D. Residence At the Time

       Defendants next argue that Plaintiff’s records requests under the PAIMI Act for youth

M.C., K.S., and A.B. must be dismissed because they did not reside in the facility at the time of

the requests. (Doc. No. 56 at 25). Plaintiff responds that its access authority is not limited to youths

who reside at a facility at the time of the records requests. (Doc. No. 60 at 23). In support of its

argument, Plaintiff relies on the language of 42 U.S.C. §10805(a)(1)(A), which states that a P&A

system is authorized to “investigate incidents of abuse and neglect of individuals with mental

illness if the incidents are reported to the system or if there is probable cause to believe that the

incidents occurred.” Moreover, Plaintiff notes that 42 U.S.C. § 10805(a)(4)(B) authorizes access

to records of “any individual (including an individual who has died or whose whereabouts are

unknown) -- (i) who by reason of the mental or physical condition of such individual is unable to

authorize the system to have such access; (ii) who does not have a legal guardian, conservator, or

other legal representative, or for whom the legal guardian is the State; and (iii) with respect to

whom a complaint has been received by the system or with respect to whom as a result of

monitoring or other activities (either of which result from a complaint or other evidence) there is

probable cause to believe that such individual has been subject to abuse or neglect.”

       Plaintiff contends that “[i]f someone is dead or their whereabouts are unknown, it is highly

unlikely that they are currently residing at the facility at the time of the records request.” (Doc. No.

60 at 23). Plaintiff also contends that Defendants’ proposed interpretation “would mean that a

facility could evade abuse and neglect investigations simply by transferring the individual to

another facility.” (Id.). The Court agrees and finds that dismissal based on Defendants’ argument

is not warranted.




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E. Section 1983

       Defendants also seek dismissal of Plaintiff’s Section 1983 claim on the grounds that the

three federal statutes that serve as the basis for Defendants’ non-Section 1983 claims expressly

provide Plaintiff with a private right and remedy, such that Plaintiff cannot also seek remedies

under Section 1983.

       The parties appear to agree that the two-part test set forth in Health and Hosp. Corp. of

Marion Cnty. v. Talevski, 599 U.S. 166 (2023) should be applied to determine if a federal statute

is enforceable under Section 1983.

       Defendants concede the first point – the statutory provisions unambiguously confer

individual federal rights – but argue that Congress precluded Section 1983 enforcement of the

rights created by the three statutes at issue by including in those acts a comprehensive enforcement

scheme.

       Supreme Court precedent directs this Court to first look at the express language of the

statutes at issue to determine whether Congress included a comprehensive redress and, if it

includes such a means of redress, Section 1983 is not a proper means of enforcing those rights.

City of Rancho Palos Verdes, Cal. v. Abrams, 544 U.S. 113, 121 (2005).

       Plaintiff relies on Michigan Prot. & Advoc. Serv., Inc. v. Evans, 2010 WL 3906259 (E.D.

Mich. Sept. 30, 2010) for the proposition that fees can be awarded to a P&A system because such

fees were awarded in that case. However, the Evans opinion made no reference to Section 1983,

nor did it include analysis of the viability of a Section 1983 claim brought by a P&A system.

       Plaintiff also argues that it should be able to bring Section 1983 claims because they are a

“crucial tool for non-profit entities … [because Section 1983] permits an award of attorney’s fees.”

This argument puts the cart before the horse and does not explain whether such a claim is viable



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in the first place. In fact, Congress allowed for a P&A system to use amounts from judgments to

further the purpose of the DD Act by that system but did not also allow for an award of attorney’s

fees. 42 U.S.C. § 15044(b)(2).

       Neither party provides the Court with binding Sixth Circuit authority on this issue;

however, the Seventh Circuit addressed the viability of a Section 1983 claim when a P&A system

sought records under the PAIMI Act. Indiana Prot. and Advoc. Servs. v. Indiana Fam. & Soc.

Servs. Admin., 603 F.3d 365 (7th Cir. 2010). In Indiana Prot. and Advoc. Servs., a state P&A system

brought suit against a state hospital, state officials, and the Indiana Family and Social Services

Administration under the PAIMI Act for failing to provide requested patient records for two

individuals. Id. at 369-370. The P&A system received information from a hospital staff member

about a patient that led it to open an investigation regarding the patient’s care while at the hospital.

The P&A system requested the patient’s “complete chart” and a copy of reports prepared by a

Mortality Review Committee, and the hospital denied the requests. Id. at 368-369.

       The P&A system also received a complaint from another patient at the same hospital who

had filed a grievance with the hospital alleging that hospital employees, among others, “had

battered, assaulted, and attempted to murder him.” Id. at 369. The P&A system requested a copy

of the hospital’s investigation into the patient’s grievance and the “incident report.” Id. The hospital

provided a summary of its “investigation results” but failed to provide any underlying records or

the “incident report.” Id.

       In its analysis, the Court considered whether the PAIMI Act authorized P&A systems to

bring an action for injunctive and declaratory relief seeking access to patient records. The Court

recognized that “[l]ooking to the PAIMI Act, we find that Congress expressed its intent to create a

legally enforceable right of access to patient records vested in an identifiable class—protection



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and advocacy systems, including IPAS, which act for the benefit and protection of mentally ill

individuals who may have difficulty acting for themselves. If and when those protection and

advocacy systems are denied their right of access, the PAIMI Act shows with sufficient clarity that

the remedy is a suit to enforce the right of access in federal or state court.” Id. at 375. The Court

also recognized that “[t]he Act further provides that the system shall have the power to bring legal

actions to ensure the protection of its constituents and to litigate on behalf of its constituents” and

that “[a] suit for access to patient records falls squarely within the statutory authority to pursue

‘legal and other appropriate remedies to ensure the protection of individuals with mental

illness....’”. Id.

         Moreover, in Health and Hosp. Corp. of Marion Cnty. v. Talevski, the Supreme Court

addressed when a federal statute is enforceable through Section 1983. 599 U.S. 166 (2023). The

Court recognized that “[a]lthough federal statutes have the potential to create § 1983-enforceable

rights, they do not do so as a matter of course” and held that                “[s]tatutory provisions

must unambiguously confer individual federal rights.” Id. at 180 (internal citation omitted)

(emphasis in original). In order to find that Congress has “unambiguously conferred” individual

rights, “it must be determined that ‘Congress intended to create a federal right’ for the identified

class, not merely that the plaintiffs fall ‘within the general zone of interest that the statute is

intended to protect.’” Id. at *183 (internal citation omitted) (emphasis in original). Moreover, the

Court held that “this test is satisfied where the provision in question is ‘phrased in terms of the

persons benefited’ and contains ‘rights-creating,’ individual-centric language with an

‘unmistakable focus on the benefited class’” and that “[c]onversely, we have rejected §

1983 enforceability where the statutory provision ‘contain[ed] no rights-creating language’; had

‘an aggregate, not individual, focus’; and ‘serve[d] primarily to direct the Federal Government’s



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distribution of public funds.’” Id. at *183-184 (internal citations omitted). The Supreme Court also

held that “[e]ven if a statutory provision unambiguously secures rights, a defendant ‘may defeat

t[he] presumption by demonstrating that Congress did not intend’ that § 1983 be available to

enforce those rights.” Id. at *186. The Supreme Court has made clear that “[t]he provision of an

express, private means of redress in the statute itself is ordinarily an indication that Congress did

not intend to leave open a more expansive remedy under § 1983” and that “ in all of the cases in

which we have held that § 1983 is available for violation of a federal statute, we have emphasized

that the statute at issue… did not provide a private judicial remedy (or, in most of the cases, even

a private administrative remedy) for the rights violated.” City of Rancho Palos Verdes, Cal. v.

Abrams, 544 U.S. 113, 121 (2005) (emphasis in original) (internal citation omitted).

       As correctly pointed out by Defendants, here the language of the DD and PAIMI Acts

expressly provide for private judicial enforcement. Specifically, the DD Act states that “[n]othing

in this subchapter shall preclude a system from bringing a suit on behalf of individuals with

developmental disabilities against a State, or an agency or instrumentality of a State.” 42 U.S.C. §

15044(b). Similarly, the PAIMI Act provides that “[p]rior to instituting any legal action in a Federal

or State court on behalf of a individual with mental illness, an eligible system, or a State agency

or nonprofit organization which entered into a contract with an eligible system under section

10804(a) of this title, shall exhaust in a timely manner all administrative remedies where

appropriate. If, in pursuing administrative remedies, the system, agency, or organization

determines that any matter with respect to such individual will not be resolved within a reasonable

time, the system, agency, or organization may pursue alternative remedies, including the initiation

of a legal action.” 42 U.S.C. § 10807(a). Moreover, the DD and PAIMI Acts do not include fee-

shifting provisions. Instead, P&A systems are permitted to use federal funds to pay attorneys’ fees



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in records-access litigation. See 45 C.F.R. § 1326.24 (“Allotments may be used to pay the

otherwise allowable costs incurred by a [P&A system] in bringing lawsuits in its own right to . . .

obtain access to records . . . .”).

        Notably, while it appears the Sixth Circuit has not directly addressed this issue, several

other courts have upheld claims for enforcement of the P&A Acts through Section 1983. Advoc.

Ctr. v. Stalder, 128 F. Supp. 2d 358, 365–66 (M.D. La. 1999) (“The PAMII Act is in itself void of

any express statement by Congress which forecloses § 1983 action. Neither does the PAMII Act

contain any comprehensive remedial scheme by which this court could imply an intent to foreclose

§ 1983 action.”); Disability Rts. New York v. N. Colonie Bd. of Educ., No. 114CV0744DNHDJS,

2017 WL 1901958, at *3 (N.D.N.Y. May 8, 2017) (holding that “[n]umerous courts, including

those in the Second Circuit, have considered a protection and advocacy system's claim to enforce

its authority under the P&A Statutes through a Section 1983 action” and that “none of the P&A

Statutes contain an express statement or comprehensive remedial scheme foreclosing the ability to

bring a Section 1983 action.”); Advoc. Ctr. v. Stalder, 128 F. Supp. 2d 358, 365–66 (M.D. La.

1999) (“[a]s stated above, the right to access records in this case is both a constitutional and

statutory right of the Advocacy Center. The Advocacy Center may, in its own right, sue when an

agency fails to comply with a request. In this case, the denial of access occurred while the

defendants were acting under the color of the state law. Therefore this court concludes that the

Advocacy Center is not precluded from bringing a § 1983 action against the defendants.”); Prot.

& Advoc. For Persons With Disabilities v. Armstrong, 266 F. Supp. 2d 303, 312 (D. Conn. 2003)

(“[i]t is not unheard of for a P & A to pursue declaratory or injunctive relief through § 1983. In

fact, several courts that have considered a P & A's claim to enforce its authority under PAMII have

done so through § 1983…Armstrong argues that Connecticut P&A does not have standing to bring



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a § 1983 action, since it doesn't make sense for a State agency to sue another member of the State.

None of the courts which have considered a P & A's claim under § 1983 have questioned its

standing to bring such a claim. Indeed, this seems logical, since while the P & A is a State agency,

it has a representative function, and thus is entrusted with protecting the civil rights of individuals

with mental illness.”).

       Plaintiff also relies on the case Michigan Prot. & Advoc. Serv., Inc. v. Flint Cmty. Sch., 146

F. Supp. 3d 897 (E.D. Mich. 2015). In Michigan Prot. & Advoc. Serv., a P&A system brought suit

under the P&A Acts via Section 1983 against the defendant for failure to provide records of

mentally ill, physically disabled, and developmentally disabled students as requested by the

plaintiff. The plaintiff filed a motion for preliminary injunction to compel the defendant to provide

the requested records. The Court held that “the PAIMI Act imposes a limited obligation on a

protection and advocacy system to make some efforts to pursue administrative remedies before

filing suit” but that “[e]xhaustion of state administrative remedies is not required as a prerequisite

to bringing an action pursuant to § 1983.” Id. at 905 (internal citation omitted). The Court

ultimately granted Plaintiff’s motion for a preliminary injunction and held that defendants were

required to furnish the records requested by plaintiff and to comply with future records requests.

       The Sixth Circuit has recognized that “[t]he burden ... lies with the defendant in a § 1983

action to prove preclusion.” Bullington v. Bedford Cnty., Tennessee, 905 F.3d 467, 473 (6th Cir.

2018) (internal citation omitted). Here, Defendants contend that “the only purpose DRT could have

for including a § 1983 claim is to seek attorneys’ fees under 42 U.S.C. § 1988.” (Doc. No. 56 at

29). The Court finds that Defendants’ argument will be better presented with the benefit of

discovery and that a ruling at this juncture is premature. Accordingly, the Court denies dismissal




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of Plaintiff’s Section 1983 claim at this stage and will address Defendants’ argument, if necessary,

at a future juncture when the record is more fully developed.

                                       IV.     CONCLUSION

       For the reasons stated above, Defendants’ Motion to Dismiss (Doc. No. 55) is GRANTED

in part and DENIED in part.

       An appropriate Order will enter.

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                                                  WILLIAM L. CAMPBELL, JR.
                                                  CHIEF UNITED STATES DISTRICT JUDGE




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